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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


AMICA CENTER FOR IMMIGRANT
RIGHTS,
1025 Connecticut Avenue NW, Suite 701
Washington, DC 20036;

AMERICAN GATEWAYS,
314 East Highland Mall Boulevard, #501
Austin, TX 78752;

ESTRELLA DEL PASO,
2400A E. Yandell Drive
El Paso, TX 79903;

FLORENCE IMMIGRANT AND REFUGEE
RIGHTS PROJECT,
PO Box 654
Florence, AZ 85132;                          Case No. 1:25-cv-00298
IMMIGRATION SERVICES AND LEGAL
                                           MEMORANDUM OF POINTS AND
ADVOCACY,
                                           AUTHORITIES IN SUPPORT OF
3801 Canal Street, Suite 210
                                           PLAINTIFFS’ MOTION FOR
New Orleans, LA 70119;
                                           TEMPORARY RESTRAINING ORDER
                                           AND PRELIMINARY INJUNCTION
NATIONAL IMMIGRANT JUSTICE
CENTER,
111 W. Jackson Blvd., Suite 800
Chicago, IL 60604;

NORTHWEST IMMIGRANT RIGHTS
PROJECT,
615 Second Avenue, Suite 400
Seattle, WA 98104;

PENNSYLVANIA IMMIGRATION
RESOURCE CENTER,
PO Box 20339
112 Pleasant Acres Road, Suite I
York, PA 17402;

ROCKY MOUNTAIN IMMIGRANT
ADVOCACY NETWORK,
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7301 Federal Boulevard, Suite 300,
Westminster, CO 80030

                         Plaintiffs,

v.

UNITED STATES DEPARTMENT OF
JUSTICE,
950 Pennsylvania Avenue, NW
Washington, DC 20530;

EXECUTIVE OFFICE FOR
IMMIGRATION REVIEW,
5107 Leesburg Pike, Suite 1902
Falls Church, VA 22041;

DEPARTMENT OF HOMELAND
SECURITY,
245 Murray Lane SW
Washington, DC 20528;

JAMES R. McHENRY III, in his official
capacity as Acting Attorney General of the
United States,
U.S. Department of Justice
950 Pennsylvania Ave., NW
Washington, DC 20530;

SIRCE E. OWEN, in her official capacity as
Acting Director of the Executive Office for
Immigration Review,
Executive Office for Immigration Review
5107 Leesburg Pike, Suite 1902
Falls Church, VA 22041;

KRISTI NOEM, in her official capacity as
Secretary of Homeland Security,
Department of Homeland Security
245 Murray Lane, SW
Washington, DC 20528,

                         Defendants.
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                                       INTRODUCTION

       Plaintiffs challenge Defendants’ arbitrary and unconstitutional attempt to terminate

longstanding, congressionally-funded legal orientation and legal representation programs that

make the U.S. immigration system more efficient, have saved U.S. taxpayers nearly $18 million

annually, and provide thousands of noncitizens, including many in detention, with their only

source of information regarding their rights and obligations in removal proceedings. Since 2003,

the Legal Orientation Program (“LOP”), Family Group Legal Orientation Program (“FGLOP”),

Immigration Court Helpdesk (“ICH”), and Counsel for Children Initiative (“CCI”) (collectively,

“the Programs”) have provided critical information and support for people in removal proceedings

around the country. Plaintiffs, which receive congressionally-authorized funding to operate the

Programs, rely on this funding to continue their critical operations. By cutting off access to these

congressionally-appropriated funds, Defendants force Plaintiffs to cut programs and likely staff,

and prevent them from providing essential access to legal information for unrepresented

noncitizens.

       In 2023, LOP served at least 35 detention facilities and more than 40,000 individuals. See

White House Legal Aid Interagency Roundtable, Access to Justice in Federal Administrative

Proceedings: Nonlawyer Assistance and other Strategies 30 (2023), https://perma.cc/Z7CM-

2UNY [hereinafter, “Access to Justice Report”]. ICH expanded to 24 immigration courts and

served over 12,000 individuals. Id. FGLOP served more than 12,000 families, and CCI provided

representation to more than 200 children across the country. Id.

       The U.S. Government consistently has recognized the effectiveness of the Programs,

particularly LOP. For example, in April 2017, Booz Allen Hamilton—an outside consultant

retained by the U.S. Department of Justice (“DOJ”) and Executive Office for Immigration Review


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(“EOIR”)—issued a report at the government’s request on the results of a year-long case study of

the work and function of EOIR. U.S. Dep’t of Just. Exec. Off. for Immigr. Rev., Legal Case Study:

Summary Report (Apr. 6, 2017), https://tinyurl.com/bddahzpv [hereinafter, “Booz Allen Hamilton

Study”]. The report recommends, among other things, that EOIR “[c]onsider expanding ‘know

your rights’ and legal representation programs, such as the Legal Orientation Program through

data-informed budget requests and justifications.” Id. at 24-25.

       Recognizing LOP and ICH’s benefits, Congress consistently has appropriated funding to

continue and expand them. Most recently, on March 9, 2024, Congress reauthorized $28 million

to support the continuation of LOP and ICH. Pub. L. 118-42, 138 Stat. 133 (2024), available at

https://www.congress.gov/118/plaws/publ42/PLAW-118publ42.pdf.            The statute stated that

“$28,000,000 shall be available for services and activities provided by the Legal Orientation

Program.” Id. (emphasis added). And the Senate Appropriations Committee warned EOIR against

taking the very actions Defendants have now taken, explicitly directing DOJ to “continue all LOP

services and activities . . . without interruption, including during any review of the program,” and

“utilize all appropriated funds solely for legitimate program purposes.” S. Rep. No. 118-62, at 84

(2023) (emphasis added).

       Despite the evidence of LOP’s efficacy and near-universal support for the Programs—and

Congress’s clear mandate to continue their funding and services—DOJ/EOIR issued a stop work

order for the Programs on January 22, 2025, purportedly to “audit” the Programs under President

Trump’s “Protecting the American People Against Invasion” executive order. Exec. Order No.

14159, 90 C.F.R. 8443, 8447 (2025). Although the executive order specified there should be a

“review” of relevant Programs, and an audit only “if appropriate” after that review, the stop work

order came less than 48 hours after its issuance. No meaningful “review” could have occurred



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during that time, particularly considering the strong evidence of LOP’s efficiencies and the breadth

of the Programs. Defendants provided no justification for the stop, no indication of the stop’s

duration, and no indication of whether the stop is (or could be) permanent. This arbitrary and

capricious decision, without justification and in violation of federal law, causes Plaintiffs

immediate and irreparable harm and violates their constitutional rights, warranting injunctive relief

requested here.

       Without the congressionally-authorized funding, Plaintiffs cannot continue their critical

missions to assist noncitizens by informing them of their legal rights and responsibilities during

immigration proceedings. Already, Plaintiffs have been ejected from immigration courts and

detention facilities during previously-scheduled visits to speak with noncitizens, educate them on

their rights, and intake potential new clients—curtailing Plaintiffs’ First Amendment Rights.

Despite modifying materials to fit the executive order and provide unfunded services, some

Plaintiffs still have been denied access and blocked from continuing their work. The congressional

funding each Plaintiff receives is a significant portion of their overall operating funds, and the

arbitrary cutoff very likely will force Plaintiffs to start terminating or reassigning staff.

Defendants’ challenged action threatens Plaintiffs’ missions, censors their speech, and deprives

noncitizens of valuable information. And, because the Programs are proven to increase judicial

efficiency, terminating the Programs undoubtedly will increase the already staggering immigration

court backlog, estimated at 3.6 million at the end of FY 2024. Holly Straut-Eppsteiner, Cong.

Rsch. Serv., IN12463, Immigration Courts: Decline in New Cases at the End of FY2024 (Nov. 26,

2024), http://bit.ly/4jBqmoW.

       The Administrative Procedure Act (“APA”) requires courts to set aside agency action that

is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” or that



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is “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(A), (B).

First, the arbitrary and capricious standard requires agency action to be both reasonable and

reasonably explained. Defendants’ termination of the Programs is neither. Defendants’ decision,

with no reasoned explanation provided, fails to consider the devastating impact this indefinite halt

will have on the Programs’ providers, the pro se noncitizens in removal proceedings who benefit

from their services, and the immigration court system. Had they appropriately considered this

impact, Defendants could not reasonably have decided to terminate funding and halt the Programs

for purposes of conducting an efficiency review, especially in light of Congressional action

appropriating funding with clear instructions to continue the programs.

       Second, Defendants’ acts are contrary to the constitution and to Plaintiffs’ constitutionally

guaranteed rights.    Defendants’ termination of the Programs is contrary to congressional

appropriations and allocations of funds towards the Programs, which the executive branch does

not have authority to stop. Similarly, Defendants’ acts terminating the Program are contrary to the

constitutional right of free speech guaranteed by the First Amendment. By preventing Plaintiffs

from accessing immigration courts and detention facilities and sharing information about the legal

process and legal rights to individuals who are detained, Defendants are preventing Plaintiffs from

sharing their viewpoint in limited public forums.

       This Court should expedite consideration of this motion under 28 U.S.C. § 1657(a) and

grant immediate provisional relief enjoining Defendants’ illegal action, which is creating ongoing

and irreparable harm to Plaintiffs, and preserve the status quo pending a final judgment in this

proceeding.




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                                          BACKGROUND

       A.      Congress Funded LOP to Promote Efficiency in the Immigration System.

       Nonprofit organizations, including the Florence Immigrant and Refugee Rights Project (the

“Florence Project”), developed legal orientation programs and “Know Your Rights” presentations

decades ago, long before Congress instructed EOIR to launch LOP. In June 1992, a General

Accounting Office (“GAO,” now the “Government Accountability Office”) report on Immigration

and Naturalization Service (“INS”) detention policies and practices observed the Florence

Project’s “successful results.” U.S. Gen. Accounting Office, GAO/GGD-92-85, Immigration

Control: Immigration Policies Affect INS Detention Efforts 51 (1992), https://perma.cc/DXU8-

ELQL. As the GAO explained, INS officials observed that the program improved court efficiency

and saved “a significant amount of time” at deportation hearings by “eliminat[ing] the need to have

immigration judges describe the various types of relief available to each alien during the hearings.”

Id. In 1994, citing the Florence Project as a “good model,” the Senate passed a bipartisan

resolution directing the Attorney General to consider implementing a pilot program at INS

processing centers for the purpose of “increasing efficiency and cost savings” by “assuring

orientation and representation” for individuals who are detained. S. Res. 284, 103d Cong. (1994),

https://perma.cc/QKU7-U5JT.

       In 1998, EOIR conducted a 90-day pilot program at three sites, with services provided by

three different organizations. Anna Hinken, U.S. Dep’t of Just. Exec. Off. for Immigr. Rev.,

Evaluation of the Rights Presentation (1999), https://perma.cc/TR85-DJNB.             Nearly 3,000

noncitizens who were detained attended the presentations. Id. at 3. EOIR conducted an extensive

review of the pilot program’s efficacy and found that the pilot program produced substantial

efficiencies, including (1) increasing the number of noncitizens requesting removal during their

initial hearings; (2) reducing the time from initial hearing to completion for unrepresented

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noncitizens; (3) increasing pro bono representation rates; and (4) reducing anxiety among

noncitizens who are detained, which helped INS manage the detention facilities more easily. Id.

at 7–10.

        On March 11, 2003, citing the nearly twenty percent reduction in detention time observed

in the pilot program, EOIR introduced LOP at 6 sites, funded by a $1 million congressional

appropriation. U.S. Dep’t of Just. Exec. Off. for Immigr. Rev., New Legal Orientation Program

Underway to Aid Detained Aliens (Mar. 11, 2003), https://perma.cc/U5CC-7HG5. LOP now

provides four main services: (1) group orientations, which provide a general overview of removal

proceedings and forms of relief; (2) individual orientations, in which unrepresented individuals

can briefly discuss their cases with LOP providers; (3) self-help workshops providing guidance

and self-help materials both to those who have potential avenues for relief and to those who are

willing to voluntary depart the country; and (4) referrals to pro bono legal services, when available.

Legal        Orientation   Program,       U.S.     Dep’t     of     Just.     (Nov.     5,     2015),

https://web.archive.org/web/20160920163113/https://www.justice.gov/eoir/legal-orientation-

program. These services are provided at a variety of detention facilities around the country.

        B.       Following Regular Studies Showing LOP’s Effectiveness, EOIR Continuously
                 has Expanded the Program.

        For more than two decades, LOP has been evaluated repeatedly, with unambiguously

positive results. In 2008, the Vera Institute of Justice (“Vera”), which contracted with EOIR to

manage LOP from 2005 until 2022 (at which time Acacia Center for Justice (“Acacia”) took over

contracting), evaluated the program. Nina Siulc et al., Legal Orientation Program: Evaluation

and Performance and Outcome Measurement Report, Phase II, THE VERA INSTITUTE OF JUSTICE

(2008), https://perma.cc/ZEN3-648L. Vera found that, on average, LOP participants completed

removal proceedings nearly two weeks faster than nonparticipants, were less likely to fail to appear


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for immigration court hearings (if released), and were better prepared to proceed pro se. Id. at iv–

v. Vera also found that immigration judges felt that LOP helped the immigration courts run more

smoothly, and that detention facility staff found that it contributed to a safer environment in the

facilities. Id. at 66–67. Vera continued to study the program in 2009 and found that more LOP

cases than non-LOP cases concluded at the first Master Calendar Hearing; of the cases that

continued beyond that initial hearing, the median case processing time of LOP cases was 11 days

less than the median case processing time for non-LOP cases. Zhifen Cheng & Neil Weiner, Vera

Inst. of Just., Legal Orientation Program (LOP): Evaluation, Performance and Outcome

Measurement Report, Phase III at 3 (2009), https://bit.ly/2K8ctOz.

       In 2012, at Congress’s instruction, EOIR developed a more in-depth estimate of the cost

savings associated with LOP; the study identified $17.8 million per year in net savings. U.S. Dep’t

of Just. Exec. Off. for Immigr. Rev., Cost Savings Analysis – The EOIR Legal Orientation

Program 2–3 (updated Apr. 4, 2012), https://perma.cc/5CjC-REZH. This estimate was based on

an average reduction of detention time of six days per person; EOIR also found that the program

reduced immigration court processing times by an average of twelve days. Id. Based on its

consistently successful performance, Congress has appropriated funds for EOIR to expand LOP

several times, including:

   •   Ten new LOP sites opened in October 2006, noting that LOP participants “make wiser
       decisions and [their] cases are more likely to be completed faster––resulting in fewer court
       hearings and less time spent in detention.” News Release, U.S. Dep’t of Just. Exec. Off.
       for Immigr. Rev., EOIR Adds 10 New Legal Orientation Program Sites – Initiates Sites for
       Children (Oct. 13, 2006), https://perma.cc/NWV9-LM5H.

   •   Twelve new LOP sites opened in October 2008, explaining that LOP participants
       “[c]omplete their immigration proceedings 13 days faster than other detained aliens,” are
       more successful, “[a]re better prepared to represent themselves pro se,” and are less likely
       to fail to appear for immigration court. News Release, U.S. Dep’t of Just. Exec. Off. for
       Immigr. Rev., EOIR Adds 12 New Legal Orientation Program Sites (Oct. 15, 2008),
       https://perma.cc/7PJC-AJRV.

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   •    Seven new LOP sites opened in 2014, declaring that “[t]he Legal Orientation Program is
        critical to the efficiency of our immigration court proceedings.” News Release, U.S. Dep’t
        of Just. Exec. Off. for Immigr. Rev., EOIR Expands Legal Orientation Program Sites (Oct.
        22, 2014), https://perma.cc/V89T-M9BC (quoting EOIR Director Juan P. Osuna).

   •    Three new LOP sites opened in 2016, again touting that LOP “improve[s] judicial
        efficiency.” News Release, U.S. Dep’t of Just. Exec. Off. for Immigr. Rev., Executive
        Office for Immigration Review Expands Legal Orientation Program Sites (Nov. 9, 2016),
        https://perma.cc/RD99-F5C5.

        In addition to expanding LOP, EOIR—based on congressional instruction—also has built

on LOP’s success by creating other legal access programs, including ICH, FGLOP, and CCI. For

Fiscal Year 2016, Congress provided EOIR with funding to create ICHs “at the immigration courts

with the greatest pending caseload.” Fact Sheet, U.S. Dep’t of Just. Exec. Off. of Immigr. Rev.,

EOIR’s Office of Legal Access Programs 4 (2016), https://perma.cc/8P3W-9NWM. Similar to

LOP’s work with individuals who are detained, ICH “orient[s] non-detained individuals appearing

before the immigration court on the removal hearing process, and provide[s] information to non-

detained individuals to inform them about possible remedies and legal resources.” Id.

        In 2021, EOIR added FGLOP and CCI. EOIR expanded LOP to create FGLOP as a

specific version of the program to serve families in removal proceedings on expedited dockets or

in the Family Expedited Removal Management program (a program created in 2023 to place

family units in expedited removal proceedings). Acacia Ctr. for Just., Family Group Legal

Orientation     Program,     https://acaciajustice.org/what-we-do/family-group-legal-orientation-

program (last visited Jan. 29, 2025). In 2023, FGLOP educated more than 12,000 noncitizen

families in nine immigration courts and via its national information line. See Access to Justice

Report at 30. Rocky Mountain Immigrant Advocacy Network (“RMIAN”) runs FGLOP in

Colorado.

        ICH is a court-based legal education program for people in immigration proceedings who

are not in detention. The program provides information about court practices and procedures,
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available legal options, and other relevant topics. ICH acts as a safeguard for immigrants in

removal proceedings, ensuring a modicum of due process in a high-stakes and complex legal

system. The program also is a crucial gateway for connecting people with pro bono attorneys, to

the limited extent available. National Immigrant Justice Center (“NIJC”) runs ICH in Chicago,

RMIAN runs ICH in Denver, Immigration Services and Legal Advocacy (“ISLA”) runs ICH in

New Orleans, and Estrelle del Paso (“Estrella”) runs ICH in El Paso.

       CCI provides full-scope, free legal representation for children who are in removal

proceedings without a parent, who would otherwise be forced to appear in court alone. Acacia

Ctr.r for Just., Counsel for Children Initiative, https://acaciajustice.org/what-we-do/counsel-for-

children-initiative (last visited Jan. 29, 2025).     CCI operates in 14 cities and provided

representation for 200 children in 2023. See Access to Justice Report at 30. NIJC runs CCI in

Chicago, American Gateways runs CCI in Austin, Texas, and ISLA runs CCI in New Orleans.

       C.      Recognizing the Benefits of the Programs, Congress Appropriated Funds to
               Continue the Programs, most recently on March 9, 2024.

       The benefits of the Programs are widely recognized. In an April 2017 report based on a

year-long study of EOIR’s performance, the government’s outside consultant Booz Allen

Hamilton recommended that DOJ and EOIR “[c]onsider expanding ‘know your rights’ and legal

representation programs, such as the Legal Orientation Program through data-informed budget

requests and justifications.” Booz Allen Hamilton Study at 24–25.

       In May 2017, the EOIR program director overseeing LOP and ICH affirmed that LOP has

had positive effects on the immigration court process: individuals who are detained make more

timely and better-informed decisions and are more likely to obtain representation; non-profit

organizations reach a wider audience of people with minimal resources; and, cases are more likely

to be completed faster, resulting in fewer court hearings and less time spent in detention. Decl. of


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Steven Lang ¶ 65 NWIRP v. Sessions, No. 17 Civ. 00716 (W.D. Wash. 2017), ECF No. 50,

https://bit.ly/2Hwn6wa.

       In November 2017, then-ICE Assistant Director for Custody Management informed ICE

field officers that “[e]xperience has shown that LOP attendees are positioned to make better

informed decisions, are more likely to obtain legal representation, and complete their cases faster

than detainees who have not received the LOP,” and instructed field officers to facilitate the

programs by ensuring adequate meeting space, sharing information with the program staff, and

facilitating attendance by noncitizens who are detained. Memorandum from Tae Johnson, ICE

Assistant Director for Custody Management, to ICE Field Office Directors, Updated Guidance:

ERO Support of the U.S. Department of Justice Executive Office for Immigration Review Legal

Orientation Program (Nov. 30, 2017), https://tinyurl.com/4c6tzc4w; see also Maria Sacchetti, ICE

Praised Legal-Aid Program for Immigrants That Justice Dept. Plans to Suspend, WASH. POST,

Apr. 17, 2018, https://wapo.st/2qGf1uT.

       On March 9, 2024, as it has done every year since 2003, Congress appropriated funds for

LOP. Pub. L. 118-42, 138 Stat. 133 (2024).1 The text of the statute reads:

       For expenses necessary for the administration of immigration-related activities of
       the Executive Office for Immigration Review, $844,000,000, of which $4,000,000
       shall be derived by transfer from the Executive Office for Immigration Review fees
       deposited in the ‘‘Immigration Examinations Fee’’ account, and of which not less
       than $28,000,000 shall be available for services and activities provided by the Legal
       Orientation Program: Provided, That not to exceed $50,000,000 of the total amount
       made available under this heading shall remain available until September 30, 2028,
       for build-out and modifications of courtroom space.

       Congress’s appropriation is a mandate, not a suggestion. The text of the bill reads

specifically that “$28,000,000 shall be available for services and activities provided by the Legal


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 Funding for FY 2024 has ended, but on December 20, 2024, Congress passed a Continuing
Resolution which continued funding at 2024 levels. See H. Rep. No. 118-10545 (2025).

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Orientation Program.” Id. (emphasis added). Congress has also repeatedly warned EOIR not to

try to stop the program, as it previously attempted to do (before reversing course) in 2018. In the

Senate Appropriations Committee’s July 25, 2024 report, the Committee “direct[ed] the

Department to continue all LOP services and activities, including that of the ICH, without

interruption, including during any review of the program.” S. Rep. No. 118-198, at 92 (2024).

And in 2022, the House Appropriations Committee’s report recommending LOP appropriations

for 2023 “remind[ed] EOIR that funding for this program is mandated by law, and any diversion

from the funds’ intended purpose must be formally communicated and convincingly justified to

the Committee.” H. Rep. No. 117-395, at 65 (2022). Congress’s warnings reflect the mandatory

nature of its appropriation, and underscore the illegality of Defendants’ actions.

       D.      The 2018 Attempt to Revoke Funding for LOP and ICH Provoked
               Significant Backlash, Demonstrating the Importance of and Broad Support
               for the Programs.

       The last time Defendants (or their 2018 counterparts) attempted to unilaterally halt LOP,

in 2018, an unnamed government official reportedly (and inaccurately) said that DOJ wanted to

“conduct efficiency reviews which have not taken place in six years.” See Maria Sacchetti, Justice

Dep’t to Halt Legal-Advice Program for Immigrants in Detention, Wash. Post (Apr. 10, 2018),

https://wapo.st/2H4kczb. The unnamed official said that the program was halted “to examine the

cost-effectiveness of the federally funded programs and whether they duplicate efforts within the

court system.” Id. This unnamed official did not, however, acknowledge the multiple efficiency

reviews and unqualified support for LOP and its cost-effectiveness over the years.

       Defendant James McHenry, formerly the director of EOIR and now the Acting Attorney

General of the United States, provided testimony to Congress in 2018 that revealed the

unconvincing and pretextual nature of Defendants’ potential justifications. First, he ignored and

rejected numerous studies demonstrating LOP’s and ICH’s efficacy, falsely claiming that LOP had
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not been reviewed since 2012. Strengthening and Reforming America’s Immigration Court

System: Hearings Before the Subcomm. on Border Security and Immigration of the S. Comm. on

the Judiciary, 115th Cong. (Apr. 18, 2018), at 1:02 [hereinafter Hearings] (video testimony of

EOIR Dir. James R. McHenry III), https://bit.ly/2JEJrWx. This testimony blatantly ignored Booz

Allen Hamilton’s report recommending the expansion of LOP. Booz Allen Hamilton Study at 23.

Second, McHenry mischaracterized previous studies of LOP as occurring “under some unorthodox

circumstances,” revealing doubt of his own agency’s findings and indicating that Defendants have

decided to discredit contrary (and consistent) efficacy findings in an attempt to terminate LOP and

ICH.2 Hearings at 1:03–1:04.

       Unsurprisingly, given that Congress had mandated continued funding for LOP and ICH in

2018, House and Senate members moved quickly to condemn Defendants’ decision. A week after

the first attempted termination was announced in 2018, members of the House and Senate Judiciary

Committees jointly communicated their “profound objection” to the Administration’s actions,

which are “systematically deconstructing basic due process protections for immigrants.”

Bicameral      Judiciary     Letter     to     General      Sessions         (Apr.   17,     2018),

https://web.archive.org/web/20221111041740/https://www.leahy.senate.gov/imo/media/doc/4.17

.18%20Bicameral%20Judiciary%20Letter%20to%20DOJ.pdf.                   The    committee    members

expressed skepticism of Defendants’ claim that a pause was needed to assess the cost-effectiveness

of the programs, noting that the Department of Justice’s own 2012 study concluded that LOP saved


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  Although McHenry, in the face of congressional backlash at the time, described Defendants’
actions as a “suspension” of LOP and suggested that the programs would be reinstated if, at some
unspecified future time, they were found to be effective, his testimony contradicted DOJ’s
announcement regarding the program’s termination. Regardless of how McHenry currently
frames or previously framed the decision, Defendants’ cessation of funding has the effect of
immediately terminating the programs. Accordingly, as shown in Section I.A of the argument,
Defendants’ actions constitute final agency action.

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the government nearly $18 million annually. Id. at 2. The committee members wrote that the

“decision to pause the LOP contradicts clear and unambiguous Congressional intent,” id. at 2, as

the March 23, 2018, omnibus spending bill included explicit instructions to the Department to

provide funds to “sustai[n] the current legal orientation program,” id. at 3, and even noted the need

to expand the program in remote areas. See id. at 3 (quoting H.R. Rep. No. 115-231, at 30 (2019)

and citing S. Rep. No. 115-139 at 65 (2018)) (alteration in original). They concluded, in no

uncertain terms, that Defendants were “ignoring the will of Congress.” Id. at 3.

        The next day, twenty-two Senators wrote to express their “strong opposition” to

Defendants’ decision to terminate LOP and ICH. Senate Letter to Attorney General Sessions,

(Apr. 18, 2018), https://perma.cc/2FLW-FB6B. The Senators explained that, although they

“support efforts to engage in oversight,” they “do not agree that a review of the programs requires

[the Department of Justice] to bring LOP, nor the ICH to a standstill.” Id. Noting EOIR’s own

findings that the program was effective, the Senators wrote that, “[g]iven this Administration’s

goal of reducing the immigration court backlogs, it does not follow that the Department [of Justice]

would suspend a program which has been shown to do just that.” Id. The Senators insisted that

Defendants “cannot be serious” in contending that DOJ must study the program because LOP and

ICH were duplicative of the explanations that immigration judges provide in removal proceedings.

Id. at 2.

        The following day, 105 members of the House jointly expressed their “strong opposition”

to the termination.       House Letter to Attorney General Sessions (Apr. 19, 2018),

https://perma.cc/PU9P-4JLB.       Given the “body of evidence” supporting the programs’

effectiveness, the House members were “shocked” to hear of Defendants’ plans to terminate them.

Id. Like the Senators, the House members noted that, although they support regular oversight, it



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“does not justify the termination of these programs during that process,” as previous reviews were

conducted effectively without interrupting operations. Id. The House members emphasized that

Defendants’ actions “directly contradict the express direction of Congress.” Id. at 2.


       E.      Two Days into a new Administration, and without Justification, Defendants
               Terminated LOP and related Programs.

       On January 20, 2025, the date of his inauguration, President Trump signed an executive

order titled “Protecting the American People Against Invasion.” Exec. Order No. 14159, 90 C.F.R.

8443, 8447 (2025). Section 19 of the order directs the Attorney General and Secretary of

Homeland Security to “[i]mmediately review and, if appropriate, audit all contracts, grants, or

other agreements providing Federal funding to non-governmental organizations supporting or

providing services, either directly or indirectly, to removable or illegal aliens, to ensure that such

agreements conform to applicable law and are free of waste, fraud, and abuse, and that they do not

promote or facilitate violations of our immigration laws.” Id. The order further instructs the

Attorney General and Secretary of Homeland Security, in violation of congressional mandate, to

“[p]ause distribution of all further funds pursuant to such agreements pending the results of the

review” and to “[t]erminate . . . agreements determined to be in violation of law or to be sources

of waste, fraud, or abuse.” Id.

       Less than 48 hours later, DOJ/EOIR issued a stop work order as to the Programs, and halted

funding. See, e.g., Rojas Decl. ¶ 11; St. John ¶ 21; Koop Decl. ¶ 3. The stop work order reportedly

said, “[t]his email is to send you notification to stop work immediately Pursuant to the Executive

Order.” Laura Romero, DOJ orders federally funded legal service providers to stop providing

support at immigration courts, ABC NEWS (Jan. 23, 2025), https://perma.cc/R455-JMGN. Putting

aside, for now, the many illegalities related to the executive order, there is no basis to conclude

executive order’s mandated “review” of relevant Programs could have meaningfully occurred

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during these few hours. The stop work order for the Programs vaguely suggested the stop work

order was to allow for an “audit” of the Programs but came without any explanation as to the stop’s

duration, or its permanence. See, e.g., Rojas Decl. ¶ 11; Yang Decl. ¶ 10.

        Defendants offered virtually no explanation for their decision to stop funding the Programs,

beyond a vague desire to conduct an audit. But any such audit appears pretextual and the result

preordained: on January 28, 2025, EOIR removed its prior practice manuals and guidance pages,

replacing them with a new “EOIR Policy Manual.” That new manual inaccurately asserts that the

“EOIR has previously determined that the general LOP constitutes a wasteful program.” U.S.

Dep’t        of      Just.,    EOIR       Policy       Manual        557      (January       2025),

https://www.justice.gov/eoir/media/1386531/dl?inline= [hereinafter “EOIR Policy Manual”].

        F.        Defendants’ Action will Cause Severe and Irremediable Harm to Plaintiffs,
                  Noncitizens, and the U.S. Immigration System.

        Terminating funding for the Programs will have immediate, devastating, and irreparable

effects. Even if EOIR reinstates these programs at some unknown future time (an unlikely

supposition), LOP already will have been dealt a fatal blow, at the expense of Plaintiffs,

unrepresented noncitizens in removal proceedings, immigration judges, and taxpayers. Program

providers across the nation receive approximately $9 million dollars annually. For Plaintiffs, this

funding represents substantial portions of their organizations’ overall operating budget, and funds

many full-time staff dedicated to the Programs. See Yang Decl. ¶ 13 (LOP and ICH account for

27% of American Gateways’ budget and impact over 32% of staff); Brock Decl. ¶ 10 (LOP, ICH,

and FGLOP account for about 25% of RMIAN’s total revenue for 2025); Rojas Decl. ¶ 25 (LOP

accounts for 20% of the Amica Center for Immigrant Rights (“Amica Center”)’s Detained Adult

Program budget); Lopez Decl. ¶ 14 (13 staff at Estrella are exclusively funded through LOP and

ICH); St. John Decl. ¶ 38 (20 staff at the Florence Project are dedicated primarily to LOP). As


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nonprofit organizations, Plaintiffs cannot continue this critical work at the core of their mission if

Defendants withdraw the previously appropriated, allocated, and approved funding. Plaintiffs will

be forced to terminate or reassign staff. See Brunsink Decl. ¶ 12; Rojas Decl. ¶¶ 25–29. They will

lose (and have already lost) access to noncitizens detained at immigration detention facilities

across the country as well as noncitizens who are not detained, and in many cases have already

lost access to courthouses and detention centers entirely. See, e.g., Rojas Decl. ¶ 12; Yang Decl.

¶ 11; Gutierrez Decl. ¶¶ 11–12. They are being forced to renegotiate their relationships with

detention centers and immigration courts. Rojas Decl. ¶ 20. All the while, thousands of pro se

noncitizens will face removal proceedings without access to vital information about how to present

themselves and their cases in those proceedings.

       Defendants’ termination already has forced Plaintiffs to reevaluate their operations. Given

the small size of most LOP providers, some organizations may be forced to close their doors or

forced to charge fees for their services. See Brunsink Decl. ¶ 12; Lopez Decl. ¶ 14. Even those

nonprofits large enough to survive Defendants’ arbitrary and capricious action will face serious

consequences, including being forced to reassign or terminate staff, many of whom have

specialized expertise in providing services tailored to the Programs, and whose experience is

irreplaceable. For example, while American Gateways has, in the short term, shifted its LOP and

ICH staff to other programs, it expects it will have to lay off staff members if the stop continues

for much longer. Yang Decl. ¶ 13. Similarly, the Amica Center has already had to divert funding

for one of its LOP employees to another program and predicts it will have to make other diversions

going forward, leading to potential layoffs if funding is not restored in the short-term. Rojas Decl.

¶ 26. NWIRP predicts that the stop will significantly limit its ability to provide detention defense.

Gutierrez Decl. ¶ 15. Without federal funding, NIJC’s ability to provide continued services to



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unrepresented people in the immigration court is “at imminent risk.” Koop Decl. ¶ 12. RMIAN

is working to find alternative funding sources for its LOP, FGLOP, and ICH programs, taking time

from its mission, but much of its other funding cannot be used to provide certain programming

typically conducted through those programs. Brock Decl. ¶ 10; Sherman Decl. ¶ 14. RMIAN

fears that these limitations will cause it to lose staff due to low morale and mission drift. Sherman

Decl. ¶ 18.

       Moreover, given the extreme complexity of immigration removal proceedings, see Padilla

v. Kentucky, 559 U.S. 356, 369 (2010), and the absence of appointed counsel for noncitizens facing

removal, the dismantling of these programs will severely frustrate Plaintiffs’ respective missions

to support noncitizens in removal proceedings. An increased number of noncitizens will be forced

to navigate the immigration system without ever having spoken to a lawyer about the immigration

process, their obligations, or the legal remedies available to them. Access to legal resources in

removal proceedings is a particularly urgent issue today, as deportations have increased

significantly.   See, e.g., ICE Enforcement and Removal Operations Statistics, ICE,

https://www.ice.gov/spotlight/statistics (last visited Jan. 31, 2025). Recent actions by ICE—

including imposing daily arrest quotas and opening a new detention facility for 30,000 noncitizens

in Guantánamo Bay—only underscore the urgent need for the Programs, which serve a critically

important role in providing legal access and due process. Tarini Parti, Trump Orders Use of

Guantanamo       Bay     to    House      Migrants,     Wall     St.    J.    (Jan.    26,    2025),

https://www.wsj.com/politics/national-security/migrants-guantanamo-bay-executive-order-

ea6a2e72; Danielle Wallace, Trump Officials Give ICE Goal on Number of Arrests Per Day:

Report, Fox News (Jan. 27, 2025), https://www.foxnews.com/politics/trump-officials-give-ice-

goal-number-arrests-per-day-report. With these increased detentions, rapid deportation processes,



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and new detention centers, providing legal advice at detention centers to ensures these activities

are being carried out following applicable laws is more important now than ever. The Programs

inform noncitizens about basic due process and ensure lawyers are regularly inside detention

centers to observe or learn about potential legal violations.

       Beyond the obvious negative implications for noncitizens in removal proceedings and the

nonprofit organizations that serve them, the dismantling of these programs will result in a less

efficient and costlier immigration system, to the detriment of noncitizens, courts, and taxpayers

alike, at a time when efficiencies in the immigration system are particularly crucial. Given an

average daily cost in detention of $164.65, and LOP’s average cost of at most $200 per person ($8

million in funding and more than 40,000 people served), even a reduction of 1.5 days of detention

per detainee saves taxpayer money on top of providing due process protections in removal

proceedings.    Thus, terminating the Programs causes the very inefficiencies Defendants

purportedly want to eliminate from the immigration system.

       The harms caused by Defendants’ actions cannot be redressed after-the-fact by restarting

the programs or providing monetary relief. Halting the Programs, even if they are eventually

reinstated, has started and will continue to cripple the nonprofit organizations that provide Program

services, effectively killing the programs. Plaintiffs have already been denied access to detention

centers and immigration courts where they typically perform their services, depriving numerous

pro se noncitizens of the valuable information they share, and depriving Plaintiffs of the ability to

share information and communicate with detainees. For example, the day the stop work order was

issued, an NIJC ICH attorney was at the Chicago immigration court providing services to

unrepresented individuals. The attorney was promptly instructed to terminate her work and return

to NIJC’s office. Koop Decl. ¶ 4. The stop work order has limited RMIAN’s access to docket



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information, preventing RMIAN from reliably ensuring that juveniles and families on the

expedited docket have access to information regarding their rights and responsibilities in removal

proceedings. Brock Decl. ¶ 9. For plaintiffs who administer CCI, although the stop work order

prevents organizations from receiving funding for their services, attorneys continue to be ethically

obligated to represent their juvenile clients. Page Decl. ¶ 8. But CCI providers, like NJIC, are

being denied access to immigration courts and detention facilities—at one facility, a security told

an immigrant that they could not access NJIC services “because there was ‘no more pro bono.’”

Koop Decl. ¶ 11. These access restrictions limit CCI providers’ ability to speak to their clients

and provide competent representation.

       In addition to imposing these new roadblocks to performing needed services, Defendants’

actions prevent Plaintiffs from communicating and sharing information related to their missions.

The Amica Center has been unable to conduct its regular “know your rights” (“KYR”) trainings

at detention facilities and courthouses in Virginia, despite requesting the ability to do so without

LOP. Rojas Decl. ¶ 18–19. Similarly, NWIRP has received pushback from a detention facility

about continuing to meet individually with detainees and does not know whether it can continue

to enter the detention facility to conduct KYR presentations or meet with individuals. Gutierrez

Decl. ¶ 12. Pennsylvania Immigration Resource Center (“PIRC”) was forced to cancel several

planned trips to continue KYR services and has not received a response as to whether similar

presentations will be allowed going forward. Brunsink Decl. ¶ 10. ICE informed RMIAN that

they would no longer be allowed to perform group KYR and consultation services. Sherman Decl.

¶ 14. As time goes on, Plaintiffs (and other nonprofit providers) will be forced to reassign or

terminate staff, divert funding from equally important initiatives, or even shut their doors. Loss




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of these staff may include those with significant subject-matter expertise in relation to LOP; loss

of that experience and expertise is irreparable and ongoing harm. Rojas Decl. ¶¶ 28–29.

       Further, the immigration system will suffer the strain of losing these educational programs

as the efficiency benefits from the Programs are lost, increasing the time to manage an already

staggering backlog of around 3.6 million cases. And the system will lose critical institutional

knowledge, further impairing its operations for years to come. Immediate preliminary injunctive

relief is necessary to maintain the status quo from before the stop work order to ensure Plaintiffs

do not suffer further irreparable harm.

                                    STANDARD OF REVIEW

       Motions for temporary restraining orders are governed by the same standards as motions

for preliminary injunctions. See Morgan Stanley DW Inc. v. Rothe, 150 F. Supp. 2d 67, 72 (D.D.C.

2001) (“The court considers the same factors in ruling on a motion for a temporary restraining

order and a motion for a preliminary injunction.”). A preliminary injunction is warranted where

the plaintiffs establish: (1) their likelihood of success on the merits; (2) irreparable harm; (3) the

balance of equities tips in their favor; and (4) that an injunction is in the public interest. Winter v.

Nat. Res. Def. Council, 555 U.S. 7, 20 (2008); Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir.

2014). Where the government is the defendant, the last two factors merge. Nken v. Holder, 556

U.S. 418, 435 (2009). Courts consider the same factors in determining whether a temporary

restraining order should be issued. Rothe, 150 F. Supp. 2d at 72.




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                                           ARGUMENT

I.     Plaintiffs are Likely to Succeed on the Merits

       Agency action cannot stand if it is arbitrary, capricious, or contrary to law, if it is done

without appropriate process, or if it is contrary to the constitution. Defendants’ abrupt termination3

of the Programs is all of those, and therefore Plaintiffs are likely to succeed on the merits.

       A.      Defendants’ Termination of the Programs Determines Plaintiffs’ Legal Rights
               and Obligations and is Final Agency Action Reviewable Under the APA.

       The APA “sets forth the procedures by which federal agencies are accountable to the public

and their actions subject to review by the courts.” Franklin v. Massachusetts, 505 U.S. 788, 796

(1992). Persons or organizations, like Plaintiffs here, who are “suffering legal wrong because of

agency action, or adversely affected or aggrieved by agency action within the meaning of a relevant

statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. The APA makes clear that “agency

action” includes not only agencies’ affirmative acts, but also their omissions and failures to act.

Id.; 5 U.S.C. § 551(13).

       Under the APA, this Court may set aside and enjoin unlawful agency action, and compel

agency action unlawfully withheld, if it is (1) “final agency action,” (2) “for which there is no other

adequate remedy in a court,” so long as (3) there are no “statutes [that] preclude judicial review”

and “agency action is [not] committed to agency discretion by law.” 5 U.S.C. §§ 701(a), 704.

Plaintiffs satisfy each of these criteria here, and APA relief is therefore proper.

       Final Agency Action. Under the APA, “agency action” is defined as “the whole or a part

of an agency rule, order, license, sanction, relief, or the equivalent or denial thereof, or failure to

act.” 5 U.S.C. § 551(13); 5 U.S.C. § 701(b)(2). An agency action is final where two conditions



3
 See Rojas Decl. ¶ 10; St. John Decl. ¶ 21; Yang Decl. ¶ 10; Brock Decl. ¶ 10; Lopez Decl. ¶ 10;
Gutierrez Decl. ¶ 10; Sherman Decl. ¶ 13; Koop Decl. ¶¶ 3–4; Brunsink Decl. ¶ 9.

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are satisfied: (1) “the action must mark the consummation of the agency’s decisionmaking

process,” and (2) “the action must be one by which rights or obligations have been determined, or

from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78 (1997)

(internal quotation marks and citations omitted); Ctr. for Auto Safety v. Nat’l Highway Traffic

Safety Admin., 452 F.3d 798, 806 (D.C. Cir. 2006).

       DOJ/EOIR’s stop work order is a final agency action. The D.C. Circuit’s opinion in Clean

Air Council v. Pruitt, 862 F.3d 1 (D.C. Cir. 2017) (per curiam) is instructive. In that case, the EPA

granted a petition for reconsideration of a final rule and issued a 90-day stay of the compliance

date for the rule. Id. at 5. Less than two weeks later, EPA published a notice of proposed

rulemaking announcing its intention to extend the stay for two years and to “look broadly at the

entire” rule during “the reconsideration proceeding.” Id. The D.C. Circuit found that, although

granting reconsideration of the rule was not a final action, imposing the stay was. Id. at 6. As the

Court explained, “this court has held that such orders are tantamount to amending or revoking a

rule.” Id. There was “no indication” that the agency intended to reconsider the stay, and thus the

stay represented a final decision and thus marked “the consummation of [the agency’s]

decisionmaking process.” Id. At the same time, the stay affected parties’ rights or obligations, as

it affected the compliance obligations for regulated entities and the penalties that would have

applied for non-compliance. Id. at 7.

       Here, as in Clean Air Council, there is no indication that the agency intends to reconsider

its decision to halt the programs. To the contrary—as discussed in footnote 2, supra—when

pressed during testimony before the Senate Judiciary Committee about the first “temporary” stop

in 2018, Defendant McHenry confirmed the agency’s intention to stop funding. Hearings at 1:02.

In 2018, Defendants never provided a timeline for conducting the efficiency study that supposedly



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precipitated the decision and gave no explanation for why the programs needed to stop to be

studied. This time around, Defendants have clearly demonstrated that any concerns with “waste”

are pretextual: less than a week after the stop work order, Defendants issued a new EOIR Policy

Manual already prejudging that LOP, at least, is “wasteful” without so much as a pretense of an

audit. EOIR Policy Manual 557. Defendant McHenry’s previous and self-serving assertions that

a termination like this is “temporary” cannot be squared with his comments that EOIR would

resume the program only “if” it were found to be efficient, while simultaneously judging the

program to be redundant—a judgment that ignores all available data. See Background, Sections

B, C. Defendants’ actions are the culmination of years of efforts to undermine the Programs,

regardless of the overwhelmingly positive reviews of their efficiency and efficacy; there is little

doubt that Defendants do not intend to restart the Programs.

        Even if Defendants’ contentions that a stop work order like DOJ’s/EOIR’s could be

temporary are believable, their action nonetheless is final because even a temporary termination

of the program will have the effect of killing it. Plaintiffs will not be able to sustain the

programming that they have offered, staff will be laid off or reassigned, organizations may close

their doors, and institutional knowledge (both for the government and the affected nonprofits) will

be permanently lost. Undeniably, by eliminating funding, the halt will have an immediate effect

on parties’ rights or obligations. See, e.g., Brinsink Decl. ¶¶ 11–12; Koop Decl. ¶ 14; Sherman

Decl. ¶ 18; Rojas Decl. ¶ 25.

        Likewise, the agency’s use of informal means of communicating its decision does not

insulate it from review. See, e.g., Ciba-Geigy Corp. v. U.S.E.P.A., 801 F.2d 430, 438 n.9 (D.C.

Cir. 1986) (“It is settled . . . that an agency may not avoid judicial review merely by choosing the

form of a letter to express its definitive position on a general question of statutory interpretation.”).



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For example, this Court has recognized that an email that “is ‘definitive’ and has ‘direct and

immediate effect on the day-to-day business of the part[y] challenging the action’” is a final agency

action. Allergan, Inc. v. Burwell, 2016 WL 1298960, at *6 (D.D.C. Mar. 31, 2016) (quoting Ciba-

Geigy, 801 F.2d at 436). Here, the agency action is definitive because “there is ‘no ambiguity’ in

the statement, nor any indication it is ‘subject to further agency consideration or possible

modification.” Allergan, 2016 WL 1298960, at *6 (quoting Ciba Geigy, 801 F.2d at 436). And

the “direct and immediate effect on the day-to-day business” of the Plaintiffs resulting from a

catastrophic loss of funds is undeniable. Id.; see also Section II.A. The agency’s decision to halt

the programs is therefore a final agency action and reviewable by this Court.

        No Other Adequate Remedy. Plaintiffs do not have any other adequate remedy for their

claims. The Supreme Court narrowly interprets the “other adequate remedy” limitation, stressing

that it “should not be construed to defeat the central purpose of providing a broad spectrum of

judicial review of agency action.” Bowen v. Massachusetts, 487 U.S. 879, 903 (1988); see also El

Rio Santa Cruz Neighborhood Health Ctr. v. U.S. Dep’t of Health & Hum. Servs., 396 F.3d 1265,

1270 (D.C. Cir. 2005) (“the generous review provisions of the APA must be given a hospitable

interpretation such that only upon a showing of clear and convincing evidence of a contrary

legislative intent should the courts restrict access to judicial review”) (internal citations and

quotations omitted)). Instead, “Congress intended by that provision simply to avoid duplicating

previously established special statutory procedures for review of agency actions.” Darby v.

Cisneros, 509 U.S. 137, 146 (1993). Here, no such special procedures have been established, so

it is proper for Plaintiffs to seek relief from this Court.

        No Statutory Bar to Review. Finally, no statute bars review of Plaintiffs’ claims here, and

Congress has done nothing to override “the strong presumption that Congress intends judicial



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review” of the administrative actions Plaintiffs challenge.     Bowen v. Mich. Acad. of Fam.

Physicians, 476 U.S. 667, 670–71 (1986).

       B.      Termination of LOP and ICH Violates the Appropriations Clause.

       Canceling LOP and ICH flouts an express congressional mandate. Under the APA, a court

“shall . . . hold unlawful and set aside agency action” that is “contrary to constitutional right,

power, privilege, or immunity.” 5 U.S.C. § 706(a)(2)(B). Termination or indefinite suspension of

LOP and other Programs violates the mandate set forth in the Spending Bill and thus must be set

aside under the APA. Pub. L. 118-42, 138 Stat. 133 (2024).

       Congressional appropriations require the executive to fulfill congressional expenditures;

the use of the word “shall” means that the expenditure is mandatory. Pennsylvania v. Weinberger,

367 F. Supp. 1378, 1381, 1381 n.19 (D.D.C 1973). The executive branch does not have the

authority to withhold funds from allotment and obligation. Train v. City of New York, 420 U.S.

35 (1975). In Train, the Supreme Court affirmed the D.C. Circuit’s finding that where a statute

mandated a federal agency to spend all appropriated funds, the President could not direct that

agency to allot less money than the congressionally appropriated amount. Id. at 35, 37, 41. Like

the statute directing funding to the Environmental Protection Agency in Train, the text of the

statute here is clear that Congress did not intend to give the executive branch “limitless power to

withhold funds from allotment and obligation.” Id. at 46; see also New York v. Dep’t of Just., 951

F.3d 84, 100–01 (2d Cir. 2020) (noting that DOJ is an agency that is subject to limits on executive

discretion to spend congressionally appropriated money). Further, where funds have already been

obligated through a definite commitment of those funds to a provider of services or goods, the

government is legally obligated to provide those funds. Off. of Pers. Mgmt. v. Richmond, 496 U.S.

414, 427–28 (1990) (control over obligated funds resides in Congress, and not the executive, and

agents of the executive cannot obligate the Treasury for payment of funds contrary to congressional
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intent). After funds have been obligated, the intended recipient is legally entitled to receive those

funds. See Nat’l Juv. L. Ctr., Inc. v. Regnery, 738 F.2d 455, 462–65 (D.C. Cir. 1984) (where the

government has promised to fund a private party, it is obligated to pay).

Congress allocated more than $840 million dollars “for the administration of immigration-related

activities” of the EOIR. Pub. L. 118-42, 138 Stat. 133 (2024). In its language regarding LOP,

Congress explicitly required that “$28,000,000 . . . shall be available” for the LOP, using the

language of command.        Id.   In previous Spending Bills, Congress defined some of the

“immigration-related activities” it intended to fund in (1) a Joint Explanatory Statement, which the

2018 Spending Bill incorporated, 164 Cong. Rec. H2084, H2090 (2018), https://bit.ly/2ES8xNV

(2) a House Report, H.R. Rep. No. 115-231, at 30 (2018), https://bit.ly/2H7BhnT; and (3) a Senate

Report, S. Rep. No. 115-139, at 65 (2018), https://bit.ly/2qAPq5K. Since then, Congress has

reminded EOIR it cannot try to stop the program like it did in 2018. In the Senate Appropriations

Committee’s July 25, 2024 report, the Committee “direct[ed] the Department to continue all LOP

services and activities, including that of the ICH, without interruption, including during any review

of the program.” S. Rep. No. 118-198, at 92 (2024) (emphasis added). And in 2022, the House

Appropriations Committee’s report recommending LOP appropriations for 2023 warned, “[t]he

Committee reminds EOIR that funding for this program is mandated by law, and any diversion

from the funds’ intended purpose must be formally communicated and convincingly justified to

the Committee.” H. Rep. No. 117-395, at 65 (2022). The reports and the explanatory statement

made clear that agencies are bound by the mandates contained therein, including that LOP and

other Programs continue without interruption. See Background, Section C. EOIR’s cancellation

of the Programs in no way considered the fact that Congress expressly funded and mandated

continuation of the Programs.



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        Here, Defendants have no authority under the Constitution to withhold the relevant funds

from Plaintiffs, because those funds have been authorized by Congress and already allocated to

Plaintiffs.   Because payments have been approved at least until June 2025, a “contractual

obligation” has been created between the United States and the recipients of congressionally

appropriated funds. See Train, 420 U.S. at 39; see also Maine v. Goldschmidt, 494 F. Supp. 93,

95 (D. Me. 1980) (holding that the Federal-Aid Highway Act of 1956 mandates spending and

precludes the Executive from deferring or reducing the obligational limit). Defendants “must

follow statutory mandates so long as there is appropriated money available” and cannot simply

“decline to follow a statutory mandate or prohibition simply because of policy objections.” In re

Aiken Cnty., 725 F.3d 255, 259 (D.C. Cir. 2013) (Kavanaugh, J.). This Court should set aside the

stop work order and enjoin any future attempts to withhold funds. 5 U.S.C. § 706(2)(B).

        Even if an administration wanted “to spend less that the full amount appropriated by

Congress” instead of withholding the full amount, as attempted here, procedural requirements must

be followed, set forth in the Impoundment Control Act (“ICA”), 2 U.S.C. §§ 681 et seq. See Aiken

Cnty., 725 F.3d at 261 n.1 (citing 2 U.S.C. § 683) (requiring budget authority proposed for

rescission to be made available for obligation until “Congress has completed action on a rescission

bill[.]”). Even a temporary stop of budget authority requires compliance with the ICA. 2 U.S.C.

§ 684 (requiring proposed deferrals to be transmitted via a “special message” to Congress).

Defendants did not follow such procedural requirements here.

        C.      Terminating the Programs is Arbitrary and Capricious.

        Defendants’ decision to terminate the Programs ignores the well-documented historical

efficacy of the program and is the definition of arbitrary and capricious. To ensure that agency

actions are reasonable and lawful, the court must “exercise our independent judgment and apply

all relevant interpretive tools to reach the best reading of the statute.” Env't Def. Fund v. United
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States Env't Prot. Agency, 124 F.4th 1, 11 (D.C. Cir. 2024) (citing Loper Bright Enters. v.

Raimondo, 603 U.S. 369 (2024)). Agency actions that are not contrary to law must nevertheless

be “reasonable and reasonably explained.” Id. After undertaking such review, a court “shall” set

aside agency action if it is “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law.” 5 U.S.C. § 706(2)(A); see also Tourus Recs., Inc. v. Drug Enf’t Admin.,

259 F.3d 731, 736 (D.C. Cir. 2001) (noting that the “standard requires the agency to ‘examine the

relevant data and articulate a satisfactory explanation for its action’”).

       Agency action should be set aside as arbitrary and capricious if the agency fails to explain

the basis of its decision, fails to consider all relevant factors and articulate a “rational connection

between the facts found and the choice made,” or fails to offer a “reasoned analysis” for departure

from preexisting policies. Motor Vehicles Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co., 463 U.S.

29, 42–43 (1983). In cases where the purported rationale for agency action is pretextual, it must

be set aside without further inquiry. See, e.g., N.E. Coal. on Nuclear Pollution v. Nuclear

Regulatory Comm’n, 727 F.2d 1127, 1130–31 (D.C. Cir. 1984); Pub. Citizen v. Heckler, 653 F.

Supp. 1229, 1237 (D.D.C. 1986). Here, Defendants fail on all grounds, justifying immediate

provisional relief (as well as ultimate relief on the merits).

                1.     Defendants Failed to Adequately Explain the Basis for the Decision.

       A “fundamental requirement of administrative law is that an agency set forth its reasons

for decision; an agency’s failure to do so constitutes arbitrary and capricious agency action.”

Tourus Recs., 259 F.3d at 737 (quotation marks omitted); see also SEC v. Chenery Corp., 332 U.S.

194, 196 (1947) (Chenery II) (it is a “simple but fundamental rule of administrative law” that “a

reviewing court . . . must judge the propriety of [agency] action solely by the grounds invoked by

the agency”).



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       “[Courts] do not hear cases merely to rubber stamp agency actions. To play that role would

be ‘tantamount to abdicating the judiciary’s responsibility under the Administrative Procedure

Act.’” Nat’l Res. Def. Council, Inc. v. Daley, 209 F.3d 747, 755 (D.C. Cir. 2000) citing A.L.

Pharma, Inc. v. Shalala, 62 F.3d 1484, 1491 (D.C. Cir. 1995). Meaningful judicial review cannot

proceed unless “the grounds upon which the administrative agency acted [are] clearly disclosed

and adequately sustained.”     SEC v. Chenery Corp., 318 U.S. 80, 94 (1943) (Chenery I).

Accordingly, an agency action must be set aside unless its basis is “set forth with such clarity as

to be understandable.” Chenery II, 332 U.S. at 196.

       Defendants’ cancellation of the Programs fails even this most basic test, eviscerating the

only access to information about deportation proceedings that is available to tens of thousands of

individuals, with nothing more than a pretextual justification. EOIR made no public statements

regarding the reasons for the cancellations. Instead, Plaintiffs and other providers learned of the

news from the Acacia Center for Justice, who emailed them about a stop work order they had

received from their Contracting Officer, and via email communications from individual facilities

that abruptly revoked their access. St. John Decl. ¶ 21; Lopez Decl. ¶ 10; Koop Decl. ¶ 4. Neither

Plaintiffs nor Acacia received any advance notice of the stop work order, which was effective

immediately. Brock Decl. ¶ 8; Brunsink Decl. ¶ 9; Gutierrez Decl. ¶ 10; Koop Decl. ¶ 3; Lopez

Decl. ¶ 10; Rojas Decl. ¶ 11; Sherman Decl. ¶ 13; St. John Decl. ¶ 21; Yang Decl. ¶ 10.

       Defendants, who have provided no justification whatsoever for their dramatic reversal of

policy and practice, are far from satisfying the APA’s requirement that an agency provide a

reasoned basis for its actions. See Amerijet Int’l v. Pistole, 753 F.3d 1343, 1350 (D.C. Cir. 2014)

(“[C]onclusory statements will not do; an agency’s statement must be one of reasoning.”

(emphasis in original) (internal citations omitted)). In fact, EOIR’s past public statements on LOP,



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like that on October 22, 2014, concluded that Defendants carried out the program to “improve

judicial efficiency in the immigration courts.” See U.S. Dep’t of Just., Executive Office for

Immigration Review Expands Legal Orientation Program Sites (2014), https://perma.cc/V89T-

M9BC. As such, because EOIR failed to provide any discernable rationale for its decision to

terminate the programs, the cancellation must be set aside. See Chenery II, 332 U.S. at 196–97

(“It will not do for a court to be compelled to guess at the theory underlying the agency’s action;

nor can a court be expected to chisel that which must be precise from what the agency has left

vague and indecisive.”); see also Columbia Gas Transmission Corp. v. FERC, 448 F.3d 382, 387

(D.C. Cir. 2006) (same).

               2.     Defendants Failed to Consider All Relevant Factors and Articulate a
                      Rational Connection Between the Facts Found and the Choice Made.

       To survive review under the arbitrary and capricious standard, an agency must have

“demonstrated a rational connection between the facts found and the choice made.” Wawszkiewicz

v. Dep’t of Treasury, 670 F.2d 296, 301 (D.C. Cir. 1981) (quotations omitted). Courts “do not

defer to the agency’s conclusory or unsupported suppositions.” Standing Rock Sioux Tribe v. U.S.

Army Corps of Engs., 255 F. Supp. 3d 101, 121–22 (D.D.C. 2017). In canceling the Programs,

Defendants failed to address any of the considerations appropriate to the decision. Far from

articulating a rational connection between the facts found and the action taken, the decision

blatantly ignores multiple instances of government analysis finding the programs to be effective

and cost efficient.

       For example, the government’s April 2017 Booz Allen Hamilton Study explicitly

recommends that EOIR “[c]onsider expanding ‘know your rights’ and legal representation

programs, such as the Legal Orientation Program through data-informed budget requests and

justifications.” Booz Allen Hamilton Study at 24–25. Further, a 2017 ICE memorandum issued


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during the first Trump Administration noted that “LOP attendees are positioned to make better

informed decisions, are more likely to obtain legal representation, and complete their cases faster

than detained noncitizens who have not received the LOP.” See Memorandum from ICE Assistant

Director for Custody Management Tae Johnson, to ICE Field Office Directors, Updated Guidance:

ERO Support of the U.S. Department of Justice Executive Office for Immigration Review Legal

Orientation Program (Nov. 30, 2017), https://tinyurl.com/4c6tzc4w ; see also Nina Siulc, et al.,

Legal Orientation Program: Evaluation and Performance and Outcome Measurement Report,

Phase II, THE VERA INSTITUTE OF JUSTICE (2008), https://perma.cc/ZEN3-648L (finding that LOP

participants moved through the immigration court process at a faster pace than non-participants,

resulting in processing times that were an average of thirteen days faster). Instead, Defendants

offer only a conclusory and inaccurate statement that EOIR previously concluded that LOP is a

wasteful program without any support to back up this false claim. EOIR Policy Manual at 557.

Given repeated and consistent evaluations that the Programs make the immigration courts run more

efficiently, providing significant savings to taxpayers, Defendants’ decision to abruptly terminate

the program, ostensibly while they review its efficacy, must be rejected as arbitrary and capricious.

       Defendants also failed to assess in any way the impacts that cancellation of the Programs

programming will have on the intended and actual beneficiaries of the program. In a system where

immigrants have no right to appointed counsel and nearly 90% of noncitizens who are detained

complete deportation proceedings without counsel, the anticipated termination of the program

removes the only access to relevant, legal information that many individuals ever receive.

“Reasoned decisionmaking” requires that agencies “look at the costs as well as the benefits” of

their actions. See State Farm, 463 U.S. at 52, 54. Defendants have given no indication that any




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such analysis or consideration occurred here, which practically would have been impossible in the

less than 48 hours before executive order and EOIR action.

       The record reveals no policy rationale for the decision to cancel programming. Where, as

here, “no findings and no analysis . . . justify the choice made,” the APA “will not permit” a court

to accept the agency’s decision. Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 167

(1962). Because Defendants “should have considered those matters but did not,” their “failure

was arbitrary and capricious in violation of the APA.” Dep’t of Homeland Sec. v. Regents of the

Univ. of Cal., 591 U.S. 1, 33 (2020).

               3.      Defendants Failed to Offer a Reasoned Explanation for Their Reversal
                       of Policy.

       When the government reverses its own established policy, it has an even greater burden to

justify its actions. The agency must “acknowledge and provide an adequate explanation for its

departure from established precedent, and an agency that neglects to do so acts arbitrarily and

capriciously.” Jicarilla Apache Nation v. U.S. Dep’t of the Interior, 613 F.3d 1112, 1119 (D.C.

Cir. 2010) (citation omitted); see also Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22

(2016) (an agency cannot depart from prior policy without “explaining its changed position”).

Thus, reversing a pre-existing policy may require a “more detailed justification than what would

suffice for a new policy created on a blank slate.” FCC v. Fox, 556 U.S. 502, 515 (2009).

       Here, the cancellation reverses a two decades-old policy that was explicitly reaffirmed year

after year by Congress, most recently when they renewed funding for LOP programming via the

2024 Omnibus Spending Bill. That bill appropriated funds “for the administration of immigration-

related activities of the Executive Office for Immigration Review,” with “$28,000,000 [that] shall

be available for services and activities provided by the Legal Orientation Program.” Pub. L. 118-

42, 138 Stat. 133 (2024). Contrasting this clear intention to continue longstanding policy and


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practice of funding LOPs and related Programs, DOJ has ended the programs without explanation

under the guise of an alleged “audit” of their effectiveness. Even taking DOJ at its word that it is

suspending the programs for an evaluation for “waste, fraud, and abuse” (which is belied by the

recent studies finding them to be effective), terminating the programs merely to conduct such

studies would be unprecedented.

       In cancelling the programs for “further study,” DOJ and EOIR dramatically depart from

their own precedent. Their radical about-face comes without any adequate justification for the

departure from earlier policy. An “audit, even if legitimately needed, should not serve as a

justification for cancellation of a long-standing and successful program. Defendants lack any

explanation for this abrupt change in policy, let alone the “reasoned” explanation that is required,

see Fox, 556 U.S. at 515, and therefore their action is arbitrary and capricious.

               4.      To the Extent Any Reason Was Offered, That Reason Was Pretextual.

       Unlike the 2018 attempt to cancel LOP and ICH, Defendants here make no effort to justify

their decision in stopping funding for the Programs. The Executive Order upon which Defendants’

actions were purportedly based requires Defendants to “review and, if appropriate, audit” funding

agreements “supporting or providing services . . . to removable or illegal aliens, to ensure that such

agreements . . . are free of waste, fraud, and abuse.” The stop work order purports to pause funding

pending an “audit.” See, e.g., St. John Decl. ¶ 21. But the EOIR Policy Manual makes clear that

the purported audit is pretextual—Defendants already deemed the Programs wasteful without any

support and unconstitutionally cut off access to their funding. EOIR Policy Manual at 557.

       Even the purported focus on “waste” is plainly pretextual. The Executive Order is titled

“Protecting the American People Against Invasion.” Exec. Order No. 14159, 90 C.F.R. 8443,

8447 (2025). That title proclaims the Executive Order concerns the Administration’s jaundiced

view of certain noncitizens. The failed attempt to remove funding from LOP and ICH in 2018
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suggests instead that Defendants are targeting these programs for reasons unrelated to purportedly

“wasteful” spending.

       The termination in January 2025 offered no indication of a good-faith belief that an audit

was necessary to effectuate congressional intent—instead, it suggests the real goal is to

unconstitutionally eliminate funding for the Programs notwithstanding Congress’s clear directions.

The circumstances reveal that this action was merely the latest in a series of improper attempts to

dismantle the current immigration system, to deport individuals without basic due process

protections, to the detriment of noncitizens, due process, and the rule of law.

       D.      Termination of the Programs Violates Plaintiffs’ First Amendment Rights.

       Under the APA, this Court may set aside agency action that is “contrary to constitutional

right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B). Here, Defendants’ actions constrain

Plaintiffs’ speech by (1) limiting their access to limited public forums where Plaintiffs have spoken

to noncitizens for more than 20 years;4 and (2) denying them access to congressionally authorized

funds because the administration wants to suppress the information they have traditionally shared

with noncitizens.

       Under the First Amendment, when the government creates a limited public forum or when

it chooses to fund private speech, it may impose speech restrictions that are “viewpoint neutral and

‘reasonable in light of the purpose served by the forum.’” Tabak, 109 F.4th at 633 (quoting Good

News Club v. Milford Cent. Sch., 533 U.S. 98, 106–07 (2001)); see also Legal Servs. Corp. v.


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   Although courthouses and detention facilities often are considered nonpublic forums, the
courthouses and detention facilities are limited public forums here because the government
“create[d] a forum that is limited to use by certain groups or dedicated solely to the discussion of
certain subjects” by allowing Plaintiffs to conduct their training programs there for more than
twenty years. People for the Ethical Treatment of Animals v. Tabak, 109 F.4th 627, 632 (D.C. Cir.
2024). But the court need not resolve this issue because the same test applies to nonpublic and
limited public forums.

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Velazquez, 531 U.S. 533, 543–44 (2001) (comparing the standard for subsidized speech claims to

limited public forum claims)). Here, the stop work order is neither.

        First, Plaintiffs’ speech is private speech, not government speech. Courts “must exercise

great caution before” deciding speech constitutes government speech, and private speech does not

transform into “government speech by simply affixing a governmental seal of approval.” Matal

v. Tam, 582 U.S. 218, 235 (2017). Like the speech at issue in Velazquez, 531 U.S. 533 (2001), the

Programs were “designed to facilitate private speech, not to promote a governmental benefit.” Id.

at 534. Courts consider three factors in identifying government speech: “(1) the history of the

speech at issue; (2) a reasonable observer’s perception of the speaker; and (3) control and final

authority over the content of the message.”5 A.N.S.W.E.R. Coal. v. Jewell, 153 F. Supp. 3d 395,

411 (D.D.C. 2016). The Programs were founded by nonprofit organizations to convey their own

messages and fulfill their organizational mission. See, e.g., St. John Decl. ¶¶ 33–34, 37; Rojas

Decl. ¶ 21–22. Indeed, both LOP and ICH began as private projects to inform noncitizens of their

rights before Congress authorized funding to support the Programs. See, e.g., St. John Decl. ¶¶ 4–

6; Koop Decl. ¶ 2. Plaintiffs also work with numerous volunteers who assist with carrying out

their mission, such that censoring Plaintiffs also impacts numerous members of the public. See,

e.g., Rojas Decl. ¶ 7. Further, while Plaintiffs have a cooperative relationship with the immigration

system, their role is clearly distinct from the government attorneys who represent DOJ in removal

proceedings or the immigration judges who oversee the proceedings. See Velazquez, 531 U.S. at

542.    While immigration judges are required to provide basic due process information to



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  Plaintiffs do not concede that the government exercises final control over the content of their
speech. But because the other two factors clearly show that Plaintiffs’ speech is private, Plaintiffs
have demonstrated they are likely to succeed on their First Amendment claim without reaching
this factor.

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noncitizens, the Programs perform a vital role in providing more comprehensive information. See,

e.g., Rojas Decl. ¶ 9. And, while the government may exercise some oversight as to the written

materials used in these presentations, Plaintiffs’ speech remains their own as they work with

noncitizens to advise them of their rights and help them navigate the immigration system. See,

e.g., Sherman Decl. ¶ 18 (noting the morale impact of preventing Plaintiffs from fulfilling their

missions).

       Second, as addressed above, the stop work order is plainly unreasonable because it exceeds

the scope of executive power and denies Plaintiffs access to congressionally authorized funds. “A

regulation is reasonable if it is consistent with the government’s legitimate interest in maintaining

the property for its dedicated use.” Initiative & Referendum Inst. v. U.S. Postal Serv., 685 F.3d

1066, 1073 (D.C. Cir. 2012). Here, there is no legitimate government interest in denying Plaintiffs

funding or access to immigration courts or detention facilities. And Defendants’ actions are

intended to silence speech disfavored by the administration because, although Plaintiffs’ speech

informs noncitizens broadly about their rights and responsibilities, the administration has falsely

suggested such speech “promote[s] or facilitate[s] violations of our immigration laws.” Exec.

Order No. 14159, 90 C.F.R. 8443, 8447 (2025).            The government engages in viewpoint-

discrimination when it “targets not subject matter, but particular views taken by speakers on a

subject.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). The

government may not leverage its power to subsidize speech or restrict speech in a limited public

forum to silence speech regarding litigants’ rights or to prevent them from defending themselves

in court proceedings. Cf. Velazquez, 531 U.S. at 547–48. The Programs often provide the only

limited legal advice available to noncitizens. As in Velazquez, the Government may not hamstring

this legal advice by preventing Plaintiffs from speaking to noncitizens or threatening their ability



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to exist by withdrawing funding to which they are entitled and upon which they rely. Id. at 548–

49 (“Where private speech is involved, even Congress’ antecedent funding decision cannot be

aimed at the suppression of ideas thought inimical to the Government’s own interest.”).

       The executive order vaguely and overbroadly prohibits funding for “non-governmental

organizations or providing services . . . to ensure that such agreements conform to applicable law

and are free of waste, fraud, and abuse, and that they do not promote or facilitate violations of our

immigration laws.” Exec. Order No. 14159, 90 C.F.R. 8443, 8447 (2025). Although this language

fails to clearly define which programs are prohibited, given the prior attempt to defund the

Programs, it is clearly an attempt to cut off funding for the Programs and censor Plaintiffs’ speech.

Such an attempt violates Plaintiffs’ First Amendment rights and, as in Velazquez, cuts off the

opportunity for noncitizens “to receive vital information respecting constitutional and statutory

rights bearing upon” their immigration proceedings. 531 U.S. at 546.

II.    Plaintiffs Satisfy the Remaining Requirements for Injunctive Relief

       A.      Plaintiffs Face Irreparable Harm

       A preliminary injunction is appropriate where, as here, the moving party shows that it faces

harm that is both (1) “certain and great, actual and not theoretical, and so imminen[t] that there is

a clear and present need for equitable relief to prevent irreparable harm,” and (2) “beyond

remediation.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 7–8 (D.C. Cir. 2016)

(internal quotations and citation omitted, alteration in original). Thus, Plaintiffs must show a “clear

and present need for equitable relief” that is “beyond remediation.” Nat’l Ass’n of Mortg. Brokers

v. Bd. of Governors of Fed. Reserve Sys., 773 F. Supp. 2d 151, 179 (D.D.C. 2011) (internal

quotations and citations omitted).

       When a defendant’s actions “have ‘perceptibly impaired’ [an organizational plaintiff’s]

programs, ‘there can be no question that the organization has suffered injury in fact’.” Fair Emp.

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Council of Greater Wash., Inc. v. BMC Mktg. Corp., 28 F.3d 1268, 1276 (D.C. Cir. 1994) (quoting

Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)). If the defendant’s actions make the

organization’s activities more difficult and “directly conflict with the organization’s mission,” then

the organizational plaintiff may be entitled to a preliminary injunction. Nat’l Treasury Emps.

Union v. United States, 101 F.3d 1423, 1430 (D.C. Cir. 1996). “Monetary costs are of course an

injury.” United States v. Texas, 599 U.S. 670, 676 (2023). Thus, “los[ing] out on federal funds . . .

is a sufficiently concrete and imminent injury to satisfy Article III . . . .” Dep’t of Com. v. New

York, 588 U.S. 752, 767 (2019).

        Here, immediate injunctive relief is necessary to protect Plaintiffs from suffering severe

and irreparable harm. Defendants’ decision to abruptly halt funding for the Programs will directly

interfere with Plaintiffs’ mission, impeding their ability to provide critical orientation services that

are at the heart of Plaintiffs’ activities. There is no question that ceasing funding for LOP and

other Programs—a decision that effectively terminates the programs—will cause imminent harm

that cannot be later remediated. Because Defendants’ actions are preventing Plaintiffs from

speaking by denying them access to immigration courts and detention facilities and cutting off

crucial funding sources, Plaintiffs will be irreparably harmed in the absence of an injunction. See

Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality) (“The loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury.”).

        By defunding and terminating the program, Defendants will prevent Plaintiffs from

providing thousands of noncitizens the services Congress prescribed, frustrating their primary

mission of supporting noncitizens in immigration proceedings, and permanently silencing their

voices. If this occurs, “‘there can be no do over and no redress.’” Newby, 838 F.3d at 9 (quoting

League of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014)). Without



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the funding Congress appropriated, Plaintiffs will be forced to reduce or eliminate services to pro

se noncitizens. See, e.g., Lopez Decl. ¶ 14. Some organizations may be forced to close their doors,

see, e.g., Brunsink Decl. ¶ 12, or layoff staff, see, e.g., Yang Decl. ¶ 13. Others will be required

to divert staff away from the Programs, causing them to lose disaffected staff and institutional

knowledge. See, e.g., Sherman Decl. ¶ 18; St. John Decl. ¶ 39; Gutierrez Decl. ¶ 15; Brock Decl.

¶ 10. Dismantling this program will eliminate significant institutional knowledge, impairing the

immigration system’s operations for years to come. See, e.g., Rojas Decl. ¶ 29; Koop Decl. ¶ 13.

       These harms cannot be remediated or redressed, even if Defendants later resume funding

for the Programs at some future date. There is no time to delay injunctive relief. The harm to

Plaintiffs is imminent, with funding already paused indefinitely. Plaintiffs and their clients are

already experiencing irreparable harm far exceeding the mere loss of funding. The Court cannot

later turn back the clock; unless it grants this preliminary injunction now, it will be powerless in

the future to redress the harms Plaintiffs suffer.

       B.      The Balance of Equities

       Finally, in considering whether to grant a preliminary injunction, the Court should

“‘balance the competing claims of injury and . . . consider the effect on each party of the granting

or withholding of the requested relief.’” Tex. Children’s Hosp. v. Burwell, 76 F. Supp. 3d 224,

245 (D.D.C. 2014) (ellipses in original) (citations omitted). Where an injunction “will not

substantially injure other interested parties,” the balance of equities tips in plaintiffs’ favor.

Newby, 838 F.3d at 12 (quotation marks and citation omitted).

       Here, there will be no harm to Defendants—or any other interested party—if this Court

issues a preliminary injunction. “It is well established that the Government ‘cannot suffer harm

from an injunction that merely ends an unlawful practice.’” C.G.B. v. Wolf, 464 F. Supp. 3d 174,

218 (D.D.C. 2020) (quoting Open Cmtys. All. v. Carson, 286 F. Supp. 3d 148, 179 (D.D.C. 2017)).
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On the contrary, “there is a substantial public interest in having governmental agencies abide by

the federal laws that govern their existence and operations.” Newby, 838 F.3d at 12 (quotations

and citation omitted). Halting funding for the Programs contravenes Congress’s express directive

in the omnibus spending bill, which appropriates funds “for the administration of immigration-

related activities of the Executive Office for Immigration Review,” and the House’s express

admonishment that “any diversion from the funds’ intended purpose must be formally

communicated and convincingly justified to the Committee.” H. Rep. No. 117-395, at 65 (2022).

Enjoining Defendants from terminating funding already appropriated for the Programs merely

prevents Defendants from defying the congressional mandate. Paying out the monies already

earmarked for the Programs cannot harm Defendants in any meaningful way compared to the

harms that Plaintiffs and their clients will suffer if an injunction does not issue.

         Maintaining funding for the Programs furthers a critical public interest: promoting

functioning of the immigration system that reaches an appropriate result in individual cases. The

programs benefit noncitizens by informing them of their rights—helping more noncitizens obtain

a just resolution to their immigration proceedings—and benefit taxpayers by promoting efficiency

within the immigration system. In November 2017, Tae Johnson, the Assistant Director of ICE,

instructed ICE personnel that LOP is for the benefit of “all parties,” including ICE and the courts.

Memorandum from ICE Assistant Director for Custody Management Tae Johnson, to ICE Field

Office Directors, Updated Guidance: ERO Support of the U.S. Department of Justice Executive

Office    for   Immigration   Review     Legal   Orientation     Program,     1   (Nov.   30,   2017),

https://tinyurl.com/4c6tzc4w . He explained that the program was created to “improve the

efficiency of immigration court proceedings by increasing access to information and improving

representation for individuals in proceedings.” Id. Recognizing the program’s significant benefits,



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Assistant Director Johnson encouraged ICE agents to share information about it with noncitizens

who were detained. Id. at 2. By appropriating money for these programs, Congress has agreed

that providing funding for the Programs is in the public interest. See, e.g., Bicameral Judiciary

Letter to General Sessions (Apr. 17, 2018) (“urg[ing] DOJ to reject these ill-advised policy

changes,” and noting that DOJ’s decision “undermine[s] the most basic notions of fairness in the

American justice system, and thus the rule of law itself.”). A preliminary injunction protecting

that funding, therefore, likewise is in the public interest.

        If the Court does not issue a preliminary injunction, Plaintiffs and thousands of noncitizens

moving through the immigration system (and in some cases, U.S. citizens) will face clear,

immediate, and irreparable harms, as described above. U.S. taxpayers, who will bear the increase

in overall systems costs resulting from the elimination of the Programs, likewise will suffer from

Defendants’ actions. Defendants themselves, meanwhile, do not face any injury from the issuance

of a preliminary injunction to stop their illegal instruction, particularly where Congress mandated

that the Programs to continue. Given these considerations, the balance of equities weighs heavily

in favor of issuing a preliminary injunction here.

III.    A Nationwide Injunction is Appropriate

        District courts’ authority to issue nationwide injunctions is well established; they “enjoy

broad discretion in awarding injunctive relief.” Nat’l Min. Ass’n v. U.S. Army Corps of Eng’rs,

145 F.3d 1399, 1408 (D.C. Cir. 1998). Accordingly, “‘[w]hen a reviewing court determines that

agency regulations are unlawful, the ordinary result is that the rules are vacated—not that their

application to the individual petitioners is proscribed.’” Dist. of Columbia v. U.S. Dep’t of Agric.,

444 F. Supp. 3d 1, 47 (D.D.C. 2020) (quoting Nat’l Min. Ass’n, 145 F.3d at 1408 (alteration in

original)). The appropriate injunctive relief “often depend[s] as much on the equities of a given



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case as the substance of the legal issues it presents.” Trump v. Int’l. Refugee Assistance Project,

582 U.S. 571, 579–80 (2017).

       Here, “[n]ationwide relief . . . is necessary to provide complete relief to the plaintiffs for

the ‘violation[s] established’” and “ensures that complete relief remains available to the plaintiffs

after . . . final adjudication.” Dist. of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d at 49.

Defendants’ decision to terminate funding for the Programs directly contradicts Congress’s

express mandate and is contrary to law in every case—regardless of which organization provides

the services—and will cause irreparable harm to Plaintiffs if allowed to proceed. A nationwide

injunction is the only way to effectively grant Plaintiffs, who operate the Programs in ten different

states, the relief they seek: the preservation of critical, congressionally approved programs that

increase efficiency of the immigration system nationwide. Without a nationwide injunction,

Defendants may seek to deny funding to other nonprofit organizations operating similar programs,

blocking thousands of noncitizens’ access to even the most basic information about the U.S.

immigration system.     Plaintiffs, whose primary mission is to serve noncitizens in removal

proceedings, will be forced to choose between expending additional resources to make up for the

defunded providers and turning their backs on vulnerable clients. Notably, Defendants—who,

consistent with the omnibus spending bill, already have allocated funding for the Programs—will

not face any harm from a nationwide injunction requiring them to continue funding the programs

as planned. Thus, the balance of equities weighs heavily in favor of a nationwide injunction.

       Courts have recognized that “a fragmented immigration policy would run afoul of the

constitutional and statutory requirement for uniform immigration law and policy.” Washington v.

Trump, 847 F.3d 1151, 1166–67 (9th Cir. 2017), reconsideration en banc denied, 853 F.3d 933

(9th Cir. 2017), and reconsideration en banc denied, 858 F.3d 1168 (9th Cir. 2017), and cert.



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denied sub nom. Golden v. Washington, 138 S. Ct. 448 (2017). Moreover, a nationwide injunction

also protects this Court from the risk of duplicative litigation, as “an injunction issued here only

as to the plaintiff organizations and their members would cause all others affected by [the invalid

rule] . . . to file separate actions for declaratory relief in this circuit.” Nat’l Min. Ass’n, 145 F.3d

at 1409. Plaintiffs are located throughout the country, and piecemeal injunctive relief would be

impractical and difficult to administer. See HIAS, Inc. v. Trump, 985 F.3d 309, 326–27 (4th Cir.

2021). Accordingly, a nationwide injunction is appropriate in this case.

IV.    Plaintiffs Seek Expeditious Resolution of their Claims

       Under 28 U.S.C. § 1657(a), “each court of the United States . . . shall expedite the

consideration of any action . . . if good cause therefor is shown.” Courts have held that “good

cause” is shown where the effective relief hinges on appropriate timing. Virginians Against

Corrupt Cong. v. Moran, No. 92-2120, 1992 WL 321508, at *1 (D.D.C. Oct. 21, 1992) (granting

prompt hearing where plaintiff needed relief against allegedly unlawful election mailings before

Election Day); see Indep. Inst. v. FEC, 70 F. Supp. 3d 502, 503 n.1 (D.D.C. 2014) (expediting

consideration “in light of the timing of the upcoming elections”), rev’d on other grounds sub

nom. Indep. Inst. v. FEC, 816 F.3d 113 (D.C. Cir. 2016); San Luis Obispo Mothers for Peace v.

Hendrie, 502 F. Supp. 408, 409 (D.D.C. 1980) (granting expedited consideration of Plaintiffs’

claims, including APA claim, where plaintiffs sought to prevent allegedly disqualified

commissioner from ruling on pending application). Further, actions may also be expedited where

one party’s income stream is dependent on the outcome of the case. See, e.g., AIG Annuity Ins.

Co. v. Law Offs. of Theodore Coates, P.C., No. 07 Civ. 1908, 2008 WL 4543422, at *3 (D. Colo.

Oct. 10, 2008).

       Here, funding for the Programs has already abruptly been rescinded. Plaintiffs have been

ordered to stop work, no longer receive their Programs’ funding, and have been denied access to
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the noncitizens housed in detention facilities nationwide.       See, e.g., Brock Decl. ¶¶ 11–12

(Colorado); St. John Decl. ¶¶ 21–32, 38–39 (Arizona); Koop Decl. ¶ 11 (Illinois); Yang Decl. ¶ 11

(Texas); Gutierrez Decl. ¶¶ 11–13 (Washington); Brunsink Decl. ¶¶ 9–11 (Pennsylvania); Rojas

Decl. ¶¶ 12–20 (Virginia). Not only will Plaintiffs be irreparably injured, see Section II.A of the

Argument, the thousands of individuals that Plaintiffs assist will also be harmed if the funding

expires. With every passing day without funding for the Programs, more individuals will appear

in immigration courts across the country without any knowledge “about immigration court

procedures along with other basic legal information.”6 In addition to the noncitizens whose due

process rights will be harmed, judicial efficacy in immigration courts across the country will

decline.7 Accordingly, there is sufficient “good cause” to expedite the consideration of this motion

under 28 U.S.C. § 1657(a).

                                          CONCLUSION

       Defendants’ decision to terminate funding for the Programs is contrary to the Constitution,

beyond the scope of executive power, pretextual, arbitrary, and capricious. Accordingly, their

actions—which ignore and contradict extensive evidence documenting the Programs’ success and

efficiency—violate the APA. Because the decision immediately will cause Plaintiffs irreparable

harm, this Court should grant immediate provisional relief enjoining Defendants’ illegal action,

including enjoining the attorney general and DOJ from refusing to make available funding for the



6
  Legal      Orientation    Program,   U.S.    DEP’T     OF     JUSTICE      (Nov.      2015),
https://web.archive.org/web/20160920163113/https://www.justice.gov/eoir/legal-orientation-
program.
7
  See id. (“Experience has shown that the LOP has had positive effects on the immigration court
process: detained individuals make wiser, more informed, decisions and are more likely to obtain
representation; non-profit organizations reach a wider audience of people with minimal resources;
and, cases are more likely to be completed faster, resulting in fewer court hearings and less time
spent in detention.”).

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Programs, including funding to any persons previously authorized by DOJ to receive 2024–25

funding, and preserving the status quo pending a final judgment.




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                                               Respectfully submitted,

January 31, 2025

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